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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-cv-0992-RBJ-KLM

   AHMAD AJAJ,

          Plaintiff,

   v.

   FEDERAL BUREAU OF PRISONS,
   WARDEN JOHN OLIVER, in his individual capacity,
   WARDEN DAVID BERKEBILE, in his individual capacity,
   ASSOCIATE WARDEN TARA HALL, in her individual capacity,
   RELIGIOUS COUNSELOR GEORGE KNOX, in his individual capacity,
   OFFICER D. PARRY, in his individual capacity,

          Defendants.


                         ANSWER BY THE INDIVIDUAL DEFENDANTS


          Defendants Berkebile, Hall, Oliver, Knox, and Parry (“Defendants” or “Individual

   Defendants”) submit the following Answer to Plaintiffs’ Amended Complaint (Doc. 29). Each

   allegation that is not specifically admitted is denied.

                                           I. INTRODUCTION

          1.      Defendants deny the allegations in the first sentence in this paragraph. The

   remaining allegations in this paragraph consist of legal conclusions to which no response is

   required. To the extent a response is required, deny.

          2.      Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny those allegations.

          3.      Defendants admit that the referenced Bureau policies and regulations speak for

   themselves and deny any allegations that are inconsistent with their contents. Defendants deny
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   the allegations in the last sentence of this paragraph.

          4.      Deny.

          5.      Deny.

          6.      Deny.

                                    II. JURISDICTION AND VENUE

          7.      This paragraph contains conclusions of law to which no response is required. To

   the extent that a response is required, Defendants admit that Plaintiff asserts jurisdiction as stated

   in paragraph seven of the Amended Complaint.

          8.      This paragraph contains conclusions of law to which no response is required. To

   the extent that a response is required, Defendants admit that Plaintiff asserts venue as stated in

   paragraph eight of the Amended Complaint.

                                              III. PARTIES

          9.      Defendants admit that Plaintiff is a federal inmate in the custody of the Bureau

   and is currently incarcerated at ADX Florence. Defendants are without knowledge or

   information sufficient to form a belief as to the truth of the remaining allegations in second

   paragraph.

          10.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 111). Therefore, no response is required.

          11.     Admit.

          12.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 111). Therefore, no response is required.

          13.     Defendants admit that Defendant Oliver was previously the Warden at ADX

   Florence. Defendants deny the remaining allegations in this paragraph.



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          14.     Defendants admit that Defendant Berkebile was previously the Warden at ADX

   Florence. Defendants deny the remaining allegations in this paragraph.

          15.     Defendants admit that Defendant Hall was previously an Associate Warden at

   ADX Florence. Defendants deny the remaining allegations in this paragraph.

          16.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          17.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          18.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          19.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          20.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          21.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          22.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          23.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.

          24.     This paragraph pertains to a defendant who has been dismissed from this action

   (see Doc. 113 at 19). Therefore, no response is required.




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          25.        Defendants admit that Defendant Knox was previously an employee at ADX

   Florence in the Religious Services Department. Defendants deny the remaining allegations of

   this paragraph.

          26.        Defendants admit that Defendant Parry is a correctional officer at ADX Florence.

   Defendants deny the remaining allegations in this paragraph.

                                        IV. STATEMENT OF FACTS

          27.        Defendants admit that Plaintiff is a federal inmate in the custody of the Bureau

   and is currently incarcerated at ADX Florence. Defendants are without knowledge or

   information sufficient to form a belief as to the truth of the remaining allegations in second

   paragraph.

          28.        The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny them.

          29.        The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny them.

          30.        The Individual Defendants admit that inmates housed in a SHU are generally

   separated from general population inmates. Defendants are without knowledge or information

   sufficient to form a belief as to the truth of the remaining allegations in this paragraph and

   therefore deny them.

          31.        The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny them.

          32.        The Individual Defendants admit that ADX Florence is the most secure federal

   prison, that it is sometimes referred to as the “Alcatraz of the Rockies,” and that it houses some




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   of the most dangerous and disruptive inmates in the federal system as well as state boarders.

   Defendants deny the remaining allegations in this paragraph.

          33.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          34.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          35.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          36.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          37.     The Individual Defendants admit that inmates who reside in a CMU have their

   communications monitored. Otherwise deny.

          38.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          39.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.




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          40.     The Individual Defendants admit that Plaintiff was transferred back to ADX in

   2012. Otherwise deny.

          41.     The allegations in this paragraph are directed at the Bureau of Prisons. Therefore,

   no response is denied. To the extent that a response is required, deny.

          42.     The Individual Defendants are without knowledge or information sufficient to

   form a belief as to the truth of the allegations in this paragraph and therefore deny those

   allegations.

          43.     The allegations in this paragraph are directed at the Bureau of Prisons. Therefore,

   no response is denied. To the extent that a response is required, deny.

          44.     Deny.

          45.     Deny.

          46.     The allegations in this paragraph are directed at the Bureau of Prisons. Therefore,

   no response is denied. To the extent that a response is required, denied.

          47.     Deny.

          48.-243. The allegations in these paragraphs relate to claims that are not asserted against

   the Individual Defendants. Therefore, no response is required.

          244-292. The allegations in these paragraphs relate to a claim against Defendants

   Berkebile and Hall that has been dismissed. Therefore, no response is required.

          293.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          294.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.




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          295.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          296.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          297.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          298.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          299.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          300.    Defendants admit that inmates at ADX Florence are allowed to interact during

   recreation periods. Otherwise deny.

          301.    Defendants admit that inmates at ADX Florence are allowed to communicate with

   each other. Otherwise deny.

          302.    Defendants are without knowledge or information sufficient to form a belief as to

   the truth of the allegations in this paragraph and therefore deny them.

          303.    Deny.

          304.    Defendants admit that congregate prayers of any religious group are not allowed

   at ADX Florence.

          305.    The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.




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          306.   The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          307.   Deny.

          308.   Deny.

          309.   Deny.

          310.   Deny.

          311.   Deny.

          312.   Deny.

          313.   The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          314.   The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          315.   Deny.

          316.   Deny.

                                        V. CLAIMS FOR RELIEF

                                       FIRST CLAIM FOR RELIEF

          317-354. The individual-capacity claims in the First Claim for Relief have been

   dismissed. Therefore, no response is required from the individual Defendants.

                                     SECOND CLAIM FOR RELIEF




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          355-390. The individual-capacity claims in the Second Claim for Relief have been

   dismissed. Therefore, no response is required from the individual Defendants.

                                       THIRD CLAIM FOR RELIEF

          391-399. Claim Three has been dismissed from this action (see Doc. 111). Therefore, no

   response is required.

                                      FOURTH CLAIM FOR RELIEF

          400.    Defendants incorporate by reference their responses to all allegations made in the

   preceding paragraphs.

          401.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          402.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to a Defendant who has

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          403.    The allegations of this paragraph are directed, in part, to a Defendant who has

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          404.    The allegations of this paragraph are directed, in part, to a Defendant who has

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          405.    Deny.



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          406.    This allegation relates to a claim that has been dismissed and therefore no

   response is required.

          407.    The allegations of this paragraph are directed to the Bureau and to a Defendant

   who has been dismissed, and therefore no response is required to those allegations.

          408.    The allegations of this paragraph are directed to the Bureau and a Defendant who

   has been dismissed, and therefore no response is required to those allegations.

          409.    The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          410.    The allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          411.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          412.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

          413.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to Defendants who have




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   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

           414.    This paragraph contains Plaintiff’s conclusions of law, to which no response is

   required. Further, the allegations of this paragraph are directed, in part, to Defendants who have

   been dismissed, and therefore no response is required to those allegations. The Individual

   Defendants deny the allegations asserted against them in this paragraph.

                                           VI. PRAYER FOR RELIEF

           The remaining paragraphs of the Amended Complaint contain Plaintiff’s prayer for relief,

   to which no response is required. To the extent a response is required, Defendants deny that

   Plaintiff is entitled to any of the relief he seeks.

                                                 DEFENSES

           1.      The Amended Complaint fails to state a claim upon which relief can be granted.

           2.      There is no Bivens remedy for the remaining Equal Protection claim in Claim

   Four.

           3.      Plaintiff’s claims may be barred in whole or in part by his failure to mitigate his

   claimed injuries and damages, if any.

           4.      Any claims that accrued prior to May 11, 2013, are barred by the statute of

   limitations.

           5.      Plaintiff’s claims are barred in whole or in part by Plaintiff’s failure to properly

   exhaust his administrative remedies pursuant to 42 U.S.C. § 1997e(a) before the Amended

   Complaint was filed.

           6.      Plaintiff’s claims are barred in whole or in part by the Prisoner Litigation Reform

   Act because he did not suffer any physical injury.



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          7.      The Individual Defendants are entitled to qualified immunity.

          8.      This Answer is being filed based on Defendants’ current knowledge of the facts

   after reasonable inquiry into Plaintiff’s allegations in the Amended Complaint. Defendants

   reserve the right to amend this Answer to plead any additional defenses or any applicable state

   and federal statutes that may be applicable, as they are revealed through discovery.

                                                JURY DEMAND

          Defendants demand a jury on the claim against them.


   Dated: November 15, 2016.                    Respectfully Submitted,
                                                ROBERT C. TROYER
                                                Acting United States Attorney

                                                s/ Amy L. Padden
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             CERTIFICATE OF SERVICE (CM/ECF)


           I hereby certify that on November 15, 2016, I filed the foregoing with the Clerk of Court
   using the CM/ECF system which will send notification of such filing to the following e-mail
   addresses:

          lrovner@law.du.edu
          ngodfrey@law.du.edu
          lwebb@law.du.edu

   and I hereby certify that I have mailed or served the document or paper to the following non
   CM/ECF participants in the manner (mail, hand- delivery, etc.) indicated by the nonparticipant’s
   name:

          None.

                                                       s/ Amy L. Padden
                                                       United States Attorney’s Office
